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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )
                                                        )
                        v.                              )       CAUSE NO. 1:07-cr-28-2 WCL
                                                        )
TAHITIA N. BURNETT                                      )
                                                        )
                                Defendant.              )


                               ACCEPTANCE OF PLEA OF GUILTY,
                                ADJUDICATION OF GUILTY AND
                                   NOTICE OF SENTENCING

        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which the

defendant has waived objection, and subject to this Court's consideration of the Plea Agreement pursuant

to Fed. R. Crim. P. 11(e)(2), the plea of guilty of the offense charged in Count 2 of the indictment is

hereby accepted, and the defendant is adjudged guilty of such offense. The defendant and her counsel

shall appear before the undersigned for sentencing on the 17th day of September, 2007, at 11:00 a.m.

The attention of the parties is directed to the timetable outlined in the Presentence Scheduling Notice

attached hereto. If counsel are unable to comply with this timetable, they shall obtain an extension of

the filing deadline from the court.

        If objections to the to the pre-sentence report are not timely filed, thereby affording the court an

adequate opportunity to review said objections, the sentencing hearing MUST BE CONTINUED.

Accordingly, if defense counsel wishes to present an objection to the court, and said objection has not been

timely filed, it will be the responsibility of said counsel to file a motion for continuance of the sentencing,

and provide to the court a full recitation of the reasons why the objection or objections were not timely
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filed.

         IT IS SO ORDERED this   1st   day of August , 2007.




                                        /s/William C. Lee
                                        William C. Lee, Judge
                                        United States District Court
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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

United States of America,

              vs.                             Criminal No.    1:07-cr-28-2 WCL

Tahitia N. Burnett

              Defendant.

                            PRESENTENCE SCHEDULING NOTICE

 Date of Referral to Probation Officer:                                July 18, 2007
                                                                   (Date of Plea or Verdict)


 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                              August 13, 2007
                                                                 (35 Days Before Sentencing)


 Counsel’s Written Objections or Acknowledgment of
 No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                      September 7, 2007
                                                                 (10 Days Before Sentencing)


 Judgment and Sentencing Date:                                     September 17, 2007
                                                             (At Least 70 Days After Plea or Verdict)
